               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION


Michael Liggins,                         No.

          Plaintiff,

v.

City of Chicago, Det. Russell
Egan, and Det. Vincent Alonzo,

         Defendants.                     Jury Trial Demanded



                                COMPLAINT

       Now comes Plaintiff, Michael Liggins, by and through his attorneys,

LOEVY & LOEVY, and complaining of the City of Chicago, Det. Russell Egan,

and Det. Vincent Alonzo, and alleges as follows:

                                Introduction

  1.   In 2014, Michael Liggins was wrongly arrested and charged with a

murder that occurred almost six years earlier.

  2.   Mr. Liggins was innocent of the murder and had no knowledge of or

involvement in the crime whatsoever.

  3.   Mr. Liggins’s wrongful arrest, detention, and prosecution were the

product of the Defendants’ misconduct. The sum total of the evidence against

Mr. Liggins was fabricated by the Defendants. They coerced a witness to falsely
identify Mr. Liggins and manipulated another witness into identifying him six

years after the fact, despite the fact that Plaintiff did not match the description

of the perpetrator.

  4.   At trial, the Defendants’ scheme fell apart. Mr. Liggins was acquitted and

finally freed after spending over five years imprisoned awaiting trial.

  5.   Mr. Liggins brings this suit to vindicate his rights, expose the Defendants’

wrongdoing, and obtain redress for the immeasurable harm he suffered during

more than five years of wrongful detention.

                              Jurisdiction & Venue

  6.   This action is brought under 42 U.S.C. § 1983 and Illinois law to redress

Defendants’ tortious conduct and the deprivation under color of law of Plaintiff’s

rights as secured by the United States Constitution.

  7.   This Court has jurisdiction under 28 U.S.C. § 1331 and § 1367. Venue is

proper under 28 U.S.C. § 1391(b) because the events giving rise to this complaint

occurred in this judicial district.

                                      Parties

  8.   Plaintiff Michael Liggins is a 30-year-old African American man and a

lifelong resident of Chicago. He is currently employed as a quality assurance

technician at Stampede Meats.

  9.   At all times relevant to the events described in this complaint,

Defendants Egan and Alonzo were employed by the City of Chicago as police



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officers with the Chicago Police Department, acting within the scope of their

authority and under color of law.

  10. Defendant City of Chicago is an Illinois municipal corporation that is or

was the employer of each of the Police Officer Defendants. At all times relevant

to the events described in this complaint, each of the individual Defendants

acted as agents or employees of the City of Chicago. The City of Chicago is liable

for all torts committed by its employees and is responsible for the policies and

practices of the Chicago Police Department.

          The Berthel Tucker Murder and Initial Investigation

  11. On September 20, 2008, two men attempted to rob the Ramos Grocery

Store on the west side of Chicago. During the course of the robbery, an employee

of the store named Berthel Tucker was shot and killed.

  12. The Ramos Grocery Store was a small establishment. Only two people

were working there at the time of the shooting—the victim and the owner.

  13. There were only a handful of witnesses to the shooting.

  14. The offenders’ faces were obscured by hoods covering their heads with the

drawstrings pulled tight around their faces.

  15. Immediately after the murder, witnesses described the offenders as two

African American men about 5’11” and 5’9” in height. The shorter of the two

men was described as having “big eyes.”




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  16. Mr. Liggins had nothing whatsoever to do with the crime. He stands at

6’3” feet tall.

  17. Ronald Ruff, a civilian who was present outside the store when the

murder occurred, told police that he saw the offenders fleeing the scene.

  18. He also observed one of the offenders drop his cell phone on the street.

                   Detectives Egan and Alonzo Elicit a
                  False Identification from Jacob Tolbert

  19. On September 22, 2008, two days after the crime, a 19-year-old named

Jacob Tolbert was arrested for an unrelated crime and brought into the 11th

District.

  20. Tolbert was mentally disabled and had an eighth-grade education. He

could neither read nor write and was under the influence of narcotics when he

was arrested.

  21. Defendants Egan and Alonzo began questioning Tolbert about the Tucker

homicide, feeding him details of the murder and eventually coercing him to

falsely implicate Mr. Liggins in that murder.

  22. Tolbert’s mental impairments were obvious to Defendants Egan and

Alonzo.

  23. Tolbert told Defendants Egan and Alonzo that he did not know anything

about the Tucker homicide, but Defendants promised him help on the incident

for which he was arrested if he cooperated, and also promised him $2,500 in

exchange for his assistance in implicating Mr. Liggins.


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  24. Egan and Alonzo then got Tolbert to pick out Mr. Liggins from a photo

array.

  25. Defendant Egan threatened Tolbert with false criminal charges if he did

not cooperate and identify Mr. Liggins from the array.

  26. On information and belief, although Defendant Alonzo was aware that

Egan had wrongfully manipulated Tolbert’s identification, he did not intervene

to correct this fabrication or report Egan’s wrongdoing.

  27. Indeed, Defendants did not document any of their misconduct or the

methods they used to coerce Tolbert to falsely implicate Mr. Liggins.

  28. Tolbert’s supposed identification was false. He had not been at the Ramos

Grocery Store at the time of the murder, he did not know Michael Liggins, and

he had no reason to believe that Mr. Liggins was involved in the crime.

  29. Moreover, none of the officers who had been at the crime scene two days

prior reported seeing Tolbert there, let alone interviewing him, and none of the

actual witnesses to the crime reported seeing him (or anyone matching his

description) in or around the small convenience store when Tucker was killed.

  30. Mr. Liggins did not match the description of either perpetrator. At 6’3”,

he is much taller than average—four inches taller than one of the perpetrators

and six inches taller than the other.




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  31. Less than two hours after Tolbert viewed the photo array, Defendants

Egan and Alonzo went to the home of the owner of the Ramos Grocery Store to

conduct another photo array procedure.

  32. There was no reason for Defendants Egan and Alonzo to conduct this

additional photo array procedure because they were not the detectives assigned

to the Tucker murder investigation.

  33. On information and belief, Defendants Egan and Alonzo reached an

agreement among themselves to perform this additional photo array procedure

to shore up Tolbert’s identification, which they knew was false.

  34. Upon viewing the same photo array that was presented to Tolbert, the

grocery store owner was unable to make an identification.

  35. Other than sharing their reports of the two identification procedures with

the investigating detectives, Defendants Egan and Alonzo had no further

involvement in the Tucker murder investigation for nearly six years.

                            The Case Goes Cold

  36. Upon learning about Tolbert’s supposed identification of Mr. Liggins, the

detectives assigned to the case investigated to determine if Liggins was the

perpetrator.

  37. Tolbert’s unsupported statement and the fact that Mr. Liggins did not

match the perpetrators’ description led the assigned detectives to conclude that

Mr. Liggins was not a legitimate suspect in the murder.



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  38. The assigned detectives never even contacted Mr. Liggins to question him

about the case.

  39. Having failed to generate any bona fide leads, the investigating detectives

did not arrest anyone—including Michael Liggins—for Tucker’s murder, and the

case went cold.

              Six Years Later, Detectives Alonzo and Egan
             Miraculously Conjure Two New Identifications

  40. In 2014, Egan and Alonzo returned to the sole piece of “evidence” they

had generated during their brief involvement in the Tucker murder

investigation six years prior: Tolbert’s supposed identification of Mr. Liggins.

  41. Egan and Alonzo began by locating Ronald Ruff, who told the police in

2008 that he witnessed the perpetrators fleeing the scene.

  42. On April 13, 2014, almost six years after the murder, Egan and Alonzo

asked Ruff to view a photo array that included a photo of Liggins.

  43. Egan and Alonzo had no legitimate basis whatsoever to include Mr.

Liggins’s photo in the array.

  44. Egan reported that Ruff identified Mr. Liggins as the person he saw

running from the scene who dropped his cell phone on the ground.

  45. It would have been impossible for Ruff to identify Mr. Liggins in the

manner reported by Defendant Egan.

  46. Specifically, Egan reported that Ruff identified a stranger he had seen

only once before, more than six years earlier, for a matter of seconds, while the


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individual (who was holding a gun and whom Ruff observed fumbling with a cell

phone) rapidly fled the scene of the crime, with his face obscured by his hood for

periods of time.

  47. Dr. Geoffrey Loftus, an expert in human perception and memory, testified

at Mr. Liggins’s trial that the short time interval in which Ruff could have

viewed the perpetrator, combined with other factors known to affect perception

and memory, meant that Ruff’s recollection of the perpetrator’s face would have

completely disappeared from his memory after just one year.

  48. Dr. Loftus’s testimony is supported by scientific evidence confirming that

a long “retention interval” between the crime and the identification procedure

yields an unreliable identification.

  49. Moreover, as a matter of common sense and ordinary human experience,

Defendants Egan and Alonzo knew that Ruff could not possibly make a reliable

identification when they interviewed him in 2014.

  50. Ruff was able to point out Mr. Liggins only because of deliberate,

improper influence by Egan and/or Alonzo.

  51. The Defendants then prepared a written statement with Ruff, in which

Ruff noted that the man he identified as Mr. Liggins fleeing the crime scene was

shorter than he was. Ruff is 5’11”, and, at 6’3”, Michael Liggins is more than

four inches taller than Ruff.




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  52. The Defendants also had Ruff view a physical lineup, which they knew

had no evidentiary value because Ruff had already been manipulated to identify

Mr. Liggins. Under those circumstances, the physical lineup procedure was

simply another fabrication designed to frame Mr. Liggins for the crime.

  53. Defendants rigged the lineup to make Mr. Liggins stand out from the rest

of the participants by making him wear a hooded sweatshirt.

  54. Mr. Liggins was the only person in the lineup wearing a hooded

sweatshirt, which was the attire worn by the perpetrator in the shooting.

  55. Moreover, some of the other participants in the lineup did not resemble

Mr. Liggins’s appearance, making the lineup unduly suggestive.

  56. If Ruff’s supposed identification of Liggins in 2014 were not unlikely

enough on its own, Egan and Alonzo then fabricated a second stranger

identification from a photo array six years after the fact.

  57. Defendants Egan and Alonzo determined that on the night of the murder

a woman named Shannon Alexander had given a television interview about

witnessing the crime but had never been interviewed by the police. The

detectives discovered that Alexander was incarcerated at Logan Correctional

Center.

  58. The Defendants interviewed Alexander in custody and presented her with

a photo array. Notwithstanding the scientific reality that Alexander was




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incapable of making a reliable identification at that point, Egan reported that

she picked out Liggins but refused to sign her name to his photograph.

  59. This was false.

  60. The reason Alexander’s signature did not appear on Mr. Liggins’s

photograph is because she was unable to identify him. On information and

belief, the Defendants fabricated her identification out of whole cloth.

  61. On information and belief, Alexander did not identify anyone from the

array because she told Defendants that the offenders she saw had their faces

obscured by the hoods of their sweatshirts.

  Egan and Alonzo Obtain Another False Identification from Tolbert

  62. Having fabricated two identifications from Ruff and Alexander, the

Defendants obtained a writ to bring Jacob Tolbert, then imprisoned at Dixon

Correctional Center, to Area North headquarters for a second interview.

  63. Once again, Tolbert was in police custody without his attorney present

for the entirety of the interview.

  64. This time, the Egan and Alonzo reported learning a number of key details

from Tolbert that they had never previously mentioned. For example, Tolbert

supposedly told the detectives that he knew Mr. Liggins from Orr High School

and that Tolbert lived near the Ramos Grocery Store with his grandmother.

  65. The Defendants reported that Tolbert once again identified Liggins from

a photo array.



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  66. This identification, like Tolbert’s last one, was false.

  67. The information that Tolbert reportedly offered about his familiarity with

Mr. Liggins and the Ramos Grocery Store in fact originated with Detective

Egan.

  68. Because the Defendants knew that Tolbert’s identification of Liggins was

false, they did not attempt to corroborate any of the details he had provided.

  69. None of the photo arrays or lineups conducted during the Tucker murder

investigation were performed according to CPD’s written policies, which require

the use of double-blind identification procedures.

  70. Based on the fabricated identifications by Tolbert, Ruff, and Alexander,

all of which were procured through the Defendants’ willful misconduct, Michael

Liggins was arrested in his home on May 13, 2014 and charged with first degree

murder.

  71. At no time did the Defendants have probable cause to arrest or detain Mr.

Liggins for Tucker’s murder.

                       Liggins is Tried and Acquitted

  72. Mr. Liggins sat in Cook County Jail for over five years awaiting trial.

During that time, he was deprived of his freedom, torn away from his family and

friends, prevented from working and earning income, and made to fear that he

would spend the rest of his life behind bars as an innocent man.




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  73. The trial began in July 2019. The prosecutors called Tolbert, who testified

truthfully that he had no knowledge of the crime or Michael Liggins’s

involvement. Tolbert also testified that he identified Mr. Liggins as the

perpetrator only after Detective Egan pressured him to do so and fed him details

of the crime.

  74. On information and belief, before taking the stand, Alexander confirmed

to prosecutors that she could not identify the perpetrator and had no idea

whether Mr. Liggins was the perpetrator.

  75. Alexander testified about the events surrounding the murder, but was

never asked to identify Mr. Liggins, nor was any reference made to Defendants’

fabricated claim that she had previously identified Liggins.

  76. The only trial witness who identified Mr. Liggins as the perpetrator was

Ruff, who maintained that he had successfully picked Mr. Liggins out of a photo

array with a high degree of confidence six years after the fact, despite it being

scientifically impossible for him to have done so.

  77. Mr. Liggins presented the testimony of Dr. Loftus, which demonstrated

that Ruff’s identification, as reported by Egan and Alonzo, was inconsistent with

the basic scientific principles governing memory and perception.

  78. The jury returned a verdict of not guilty, and Michael Liggins became a

free man for the first time in more than half a decade.




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  79. Although the jury’s verdict spared Liggins decades of wrongful

incarceration, he had already lost five years of his life to the Defendants’ willful

misconduct. The pain and suffering he experienced as a result is incalculable.

      The Chicago Police Department’s Extensive History of
 Manipulating Eyewitness Identifications and Suppressing Evidence

  80. The Chicago Police Department is responsible by virtue of its official

policies for scores of miscarriages of justice like that inflicted upon Mr. Liggins.

  81. Since 1986, no fewer than 70 cases have come to light in which Chicago

Police officers fabricated false evidence and/or suppressed exculpatory evidence

in order to cause the convictions of innocent persons for serious crimes that they

did not commit.

  82. These cases include many in which CPD officers used the same tactics

that the Defendants used against Mr. Liggins in this case, including:

(1) fabricating eyewitness identifications; (2) fabricating witness statements;

(3) concealing exculpatory evidence; (4) manipulating witnesses in order to

influence their testimony; and (5) using other tactics to secure the arrest and

prosecution of a person without probable cause and without regard to the

person’s actual guilt or innocence.

  83. At all relevant times, members of the Chicago Police Department,

including the Defendants in this action, routinely manufactured evidence

against innocent persons by coercing, manipulating, threatening, pressuring,

and offering inducements to suspects and witnesses to obtain false statements


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implicating innocent persons, knowing full well that those statements were

false. As a matter of widespread practice, members of the CPD, including the

Defendants in this action, contrived false witness narratives that were fed to

vulnerable witnesses, who then adopted those narratives as their own for the

purpose of wrongly convicting an innocent person. In addition, CPD officers

routinely fabricated and manipulated identification procedures to procure

identifications of individuals that they knew to be inaccurate. Furthermore,

CPD officers systematically suppressed exculpatory and/or impeaching material

by concealing evidence that a witness was coerced, manipulated, threatened,

pressured, or offered inducements to make false statements.

  84. The municipal policy and practice described in the preceding paragraphs

was described in an FBI FD-302 Report of an interview with Assistant State’s

Attorney Terence Johnson. The report documents, among other things, that

Chicago police detectives would feed information to witnesses and coach them

through court-reported and handwritten statements, coerce witnesses into

sticking to a detective’s theory of the case, physically abuse witnesses, and work

together to develop and rehearse false narratives so there were no

inconsistencies in the witnesses’ stories.

  85. Consistent with the municipal policy and practice described in the

preceding paragraphs, employees of the City of Chicago, including the named




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Defendants, fabricated reports, witness identifications, and other evidence,

which were used to wrongfully prosecute Mr. Liggins.

  CPD’s Longstanding Failure to Discipline or Supervise its Officers

  86. The City of Chicago and the Chicago Police Department routinely fail to

investigate cases in which Chicago Police detectives manipulate witness

identifications, fabricate evidence, and/or arrest or detain individuals without

probable cause.

  87. Before and during the period in which Mr. Liggins was unlawfully

arrested, detained, and prosecuted for the Tucker homicide, the City of Chicago

also operated a dysfunctional disciplinary system for Chicago police officers

accused of serious misconduct. The City almost never imposed significant

discipline against police officers accused of violating the civil and constitutional

rights of members of the public. The Chicago police disciplinary apparatus

included no mechanism for identifying police officers who were repeatedly

accused of engaging in misconduct.

  88. In 2017, the U.S. Department of Justice issued a report finding that there

were “engrained deficiencies in the systems CPD uses to provide officers with

supervision and training.” In particular, on the subject of training, the DOJ

concluded that the “CPD’s inattention to training needs, including a

longstanding failure to invest in the resources, facilities, staffing, and planning

required to train a department of approximately 12,000 members, leaves officers



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underprepared    to police    effectively and    lawfully.   Officer   errors and

misconceptions that result from lack of training are not corrected in the field,

because CPD has neither structured supervision in a way that will adequately

support officers, nor invested in programs and systems that will detect when

officers are in need of help or exhibiting behavior that must be corrected.

Officers’ ability to stay safe, protect public safety, and police within

constitutional standards suffers as a result.”

  89. On the subject of supervision, the DOJ concluded among other things that

“[i]nstead of encouraging the chain of command to instill proper policing tactics

and respect for constitutional policing in CPD officers, CPD provides little

incentive, or even opportunity, for supervisors to meaningfully guide and direct

CPD officers. CPD provides even less incentive for supervisors to hold officers

accountable when they deviate from CPD policy and the law. The City has long

known that CPD’s direct supervision of officers is inadequate, including through

the fact that multiple reports in the last two decades have highlighted

deficiencies in CPD’s supervisory practices. Yet, City and CPD leadership have

not made the necessary reforms to CPD’s supervision structure and processes,

and community and officer safety suffer as a result.”

  90. The DOJ “confirmed that CPD’s accountability systems are broadly

ineffective at deterring or detecting misconduct, and at holding officers

accountable when they violate the law or CPD policy.” In particular, the DOJ




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found that the City failed to investigate nearly half of misconduct complaints,

and where investigations did occur, there were “consistent patterns of egregious

investigative deficiencies.” And where misconduct complaints are sustained,

discipline is inconsistent and unpredictable.

  91. With respect to the fabrication of evidence, the DOJ found that

“[i]nvestigators do not diligently review the investigative records to determine

whether witness officers have lied in police reports or whether supervisors have

blindingly approved reports without attempting to determine whether the

reports are fabricated.”

  92. Similarly, the Chicago Police Accountability Task Force reported in April

2016 that “[g]oing back years, and continuing to the present day, CPD has

missed opportunities to make accountability an organizational priority.”

  93. Between 2004 and 2016, the City paid more than $500 million in

settlements or judgments in police misconduct discovery, without even

conducting disciplinary investigations in more than half of the cases, and while

recommending discipline in fewer than 4% of those cases.

  94. Between 2011 and 2015, nearly half of complaints filed against Chicago

police officers were not even investigated.

  95. More than 95% of complaints against the Chicago police are found to be

“unsustained.”




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  96. Less than 2% of complaints against the Chicago police resulted in any

discipline.

  97. As a matter of both policy and practice, municipal policymakers and

department supervisors condoned and facilitate a code of silence within the

Chicago Police Department. In accordance with this code, officers refused to

report and otherwise lied about misconduct committed by their colleagues,

including the misconduct at issue in this case.

  98. The failure of police supervision and discipline in the City of Chicago

during the relevant time period is a fact admitted by City policymakers and

Chicago police officers.

  99. Former Chicago Mayor Rahm Emanuel has acknowledged that a code of

silence exists within the Chicago Police Department.

 100. Former Interim CPD Superintendent Charlie Beck stated in January

2020, “[O]f course there’s such a thing” as a code of silence within the CPD.

 101. In December 2016, the President of the police officers’ union in Chicago

admitted that there is a code of silence in the CPD.

 102. The code of silence in the Chicago Police Department has been

longstanding.

 103. In Obrycka v. City of Chicago, No. 07 C 2372 (N.D. Ill.), a federal jury

found that, as of February 2007, “the City had a widespread custom and/or




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practice of failing to investigate and/or discipline its officers and/or code of

silence.”

 104. The same code of silence and ineffective system of police oversight were

in place when Mr. Liggins’s constitutional rights were violated from 2014

through 2019.

 105. As a direct and proximate result of the City of Chicago’s established

practice of not tracking and identifying police officers who are repeatedly

accused of the same kinds of serious misconduct, failing to investigate cases in

which the police are implicated in a wrongful charge or conviction, failing to

discipline officers accused of serious misconduct, and facilitating a code of

silence within the CPD, officers (including the Defendants here) have come to

believe that they may violate the civil rights of members of the public and cause

innocent persons to be charged with serious crimes without fear of adverse

consequences. As a result of these policies and practices of the City of Chicago,

members of the Chicago Police Department act with impunity when they violate

the constitutional and civil rights of citizens.

             Count 1 – Due Process, Fourteenth Amendment
                            42 U.S.C. § 1983

 106. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 107. As described in detail above, the Defendants, acting individually, jointly,

and in conspiracy with one another, as well as under color of law and within the


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scope of their employment, deprived Plaintiff of his constitutional right to a fair

trial.

 108. In the manner described more fully above, Defendants manufactured

evidence and solicited false evidence—including identifications, witness

statements, and witness testimony that they knew to be false—from Alexander,

Ruff, and Tolbert, among others. Defendants also fabricated police reports

falsely implicating Plaintiff in the Tucker homicide.

 109. The Defendants secured Mr. Liggins’s prosecution using this knowingly

false evidence, and they failed to correct these fabrications when the evidence

was used against Mr. Liggins.

 110. In addition, the Defendants deliberately withheld exculpatory evidence

from state prosecutors, Mr. Liggins, and Mr. Liggins’s criminal defense

attorneys, including evidence that the Defendants had manufactured

identifications and witness statements, thereby misleading and misdirecting

the criminal prosecution of Mr. Liggins.

 111. In addition, on information and belief, the Defendants concealed,

fabricated, and destroyed additional evidence that is not yet known to Mr.

Liggins.

 112. The Defendants’ misconduct resulted in the unjust and wrongful criminal

prosecution of Mr. Liggins and the deprivation of his liberty, thereby denying

his constitutional right to a fair trial guaranteed by the Fourteenth Amendment.




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 113. Absent this misconduct, the prosecution of Mr. Liggins could not and

would not have been pursued.

 114. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally and in total disregard of the truth and Mr.

Liggins’s clear innocence.

 115. As a result of the Defendants’ misconduct described in this Count, Mr.

Liggins suffered mental anguish, humiliation, degradation, physical and

emotional pain and suffering, loss of liberty, and other grievous injuries and

damages as set forth above.

 116. The misconduct described in this Count was undertaken pursuant to the

policies and practices of the City of Chicago and the Chicago Police Department

as described more fully below in Count 5.

Count 2 – Deprivation of Liberty, Fourth and Fourteenth Amendments
                           42 U.S.C. § 1983

 117. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 118. In the manner described more fully above, the Defendants, individually,

jointly, and in conspiracy with one another, as well as under color of law and

within the scope of their employment, accused Mr. Liggins of criminal activity

and exerted influence to initiate and perpetuate judicial proceedings against

him without any probable cause for doing so and in spite of the fact that they




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knew Plaintiff was innocent, in violation of his rights secured by the Fourth and

Fourteenth Amendments.

 119. In so doing, the Defendants caused Mr. Liggins to be deprived of his

liberty without probable cause and improperly subjected to judicial proceedings

for which there was no probable cause. These judicial proceedings were

instituted and continued maliciously, resulting in injury to Mr. Liggins.

 120. The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally and in total disregard of the truth and Mr.

Liggins’s clear innocence.

 121. As a result of the Defendants’ misconduct described in this Count, Mr.

Liggins suffered mental anguish, humiliation, degradation, physical and

emotional pain and suffering, loss of liberty, and other grievous injuries and

damages as set forth above.

 122. The misconduct described in this Count was undertaken pursuant to the

policies and practices of the City of Chicago and the Chicago Police Department

as described more fully below in Count 5.

         Count 3 – Conspiracy to Deprive Constitutional Rights
                            42 U.S.C. § 1983

 123. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 124. In the manner described above, the Defendants, acting in concert with

other co-conspirators, known and unknown, reached an agreement among


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themselves to fabricate evidence and to detain, prosecute, and convict Mr.

Liggins for the Tucker homicide, regardless of Mr. Liggins’s guilt or innocence,

and thereby to deprive him of his constitutional rights.

 125. In so doing, these co-conspirators agreed to accomplish an unlawful

purpose through an unlawful means. In addition, these co-conspirators agreed

among themselves to protect one another from liability for depriving Plaintiff of

these rights.

 126. In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

 127. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally and in total disregard of the truth and Mr.

Liggins’s clear innocence.

 128. As a result of the Defendants’ misconduct described in this Count, Mr.

Liggins suffered mental anguish, humiliation, degradation, physical and

emotional pain and suffering, loss of liberty, and other grievous injuries and

damages as set forth above.

                       Count 4 – Failure to Intervene
                              42 U.S.C. § 1983

 129. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 130. In the manner described above, during the constitutional violations

described herein, one or more of the Defendants stood by without intervening to


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prevent the violation of Mr. Liggins’s constitutional rights, even though they

had the duty and the opportunity to do so.

 131. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally and in total disregard of the truth and Mr.

Liggins’s clear innocence.

 132. As a result of the Defendants’ misconduct described in this Count, Mr.

Liggins suffered mental anguish, humiliation, degradation, physical and

emotional pain and suffering, loss of liberty, and other grievous injuries and

damages as set forth above.

 133. The misconduct described in this Count was undertaken pursuant to the

policies and practices of the City of Chicago and the Chicago Police Department

as described more fully below in Count 5.

                               Count 5 – Monell
                               42 U.S.C. § 1983

 134. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 135. As described in detail above, the City of Chicago is liable for the violations

of Mr. Liggins’s constitutional rights because Mr. Liggins’s injuries were caused

by the policies, practices, and customs of the City of Chicago, as well as by the

actions of policymaking officials for the City of Chicago.

 136. At all times relevant to the events described in this complaint and for a

period of time prior thereto, the City of Chicago had notice of a widespread


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practice and custom by officers and agents of the Chicago Police Department

and the City of Chicago of manufacturing false evidence, suppressing evidence,

and instigating false criminal charges.

 137. In addition, at all times relevant to the events described in this complaint

and for a period of time prior thereto, the City of Chicago had notice of a

widespread practice and custom by officers and agents of the Chicago Police

Department and the City of Chicago under which individuals were routinely

deprived of their right to due process. For example, it was common that suspects

were prosecuted based on fabricated evidence, including fabricated eyewitness

identifications and eyewitness identifications obtained using coercion and/or

manipulated photographic or live lineup procedures, as well as fabricated police

reports.

 138. Specifically, at all relevant times and for a period of time prior thereto,

there existed a widespread practice and custom by officers and agents of the

Chicago Police Department and the City of Chicago under which criminal

suspects were denied due process in one or more of the following ways:

(1) suspects were selected during identification procedures by eyewitnesses who

had been instructed by police on which suspect to identify; (2) suspects were

shown improperly suggestive photo arrays; (3) suspects were shown suggestive

live lineups; (4) identification procedures were not accurately documented; and

(5) supervisors with knowledge of permissible and impermissible identification




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techniques did not properly supervise or discipline police officers and employees

such that the fabricated and improper identifications continued unchecked.

 139. In addition, at all relevant times and for a period of time prior thereto,

the City of Chicago had notice of a widespread practice and custom by officers

and agents of the Chicago Police Department and the City of Chicago that

included one or more of the following: (1) officers did not record investigative

information in police reports, did not maintain proper investigative files, and/or

did not disclose investigative materials to prosecutors and criminal defendants;

(2) officers falsified statements, reports, and testimony of witnesses; (3) officers

fabricated evidence implicating criminal defendants in criminal conduct; (4)

officers failed to maintain or preserve evidence or destroyed evidence; and (5)

officers   pursued   wrongful     convictions    based   on   profoundly    flawed

investigations.

 140. These widespread practices, individually and together, were allowed to

flourish because the leaders, supervisors, and policymakers of the City of

Chicago directly encouraged and were thereby the moving force behind the very

type of misconduct at issue by failing to adequately train, supervise, and control

their officers, agents, and employees and by failing to adequately punish and

discipline prior instances of similar misconduct, thereby directly encouraging

the abuses like the ones Mr. Liggins suffered.




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 141. These widespread practices and customs, so well settled as to constitute

de facto policies of the City of Chicago, were able to exist and thrive, individually

and together, because policymakers exhibited deliberate indifference to the

problem, thereby effectively ratifying it.

 142. At all times relevant to the events described in this complaint and for a

period of time prior thereto, the City of Chicago failed to promulgate proper or

adequate    rules,   regulations,   policies,   and   procedures   for:   conducting

photographic and live lineup procedures; conducting interrogations and

questioning of witnesses and suspects; collecting, documenting, preserving,

testing, and disclosing evidence; the writing of police reports and taking of

investigative notes; obtaining statements and testimony from witnesses; and

maintaining investigative files and disclosing those files in criminal

proceedings. In addition, or alternatively, the City of Chicago failed to

promulgate proper and adequate rules, regulations, policies, and procedures for

the training and supervision of officers and agents of the Chicago Police

Department and the City of Chicago with respect to these subjects.

 143. These failures to promulgate proper or adequate rules, regulations,

policies, and procedures were committed by officers and agents of the Chicago

Police Department and the City of Chicago.




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 144. As a result of the policies and practices of the City of Chicago, numerous

individuals have been wrongly prosecuted and imprisoned for, as well as

convicted of, crimes that they did not commit.

 145. Mr. Liggins’s injuries were directly and proximately caused by officers,

agents, and employees of the City of Chicago, including but not limited to the

individually named Defendants, who acted pursuant to one or more of the

policies, practices, and customs set forth above in engaging in the misconduct

described in this Count.

                     Count 6 – Malicious Prosecution
                               Illinois Law

 146. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 147. In the manner described above, the Defendants, individually, jointly, and

in conspiracy with one another, as well as within the scope of their employment,

accused Mr. Liggins of criminal activity and exerted influence to initiate and to

initiate and perpetuate judicial proceedings against Mr. Liggins without any

probable cause for doing so.

 148. In so doing, the Defendants caused Mr. Liggins to be improperly subjected

to judicial proceedings for which there was no probable cause. These judicial

proceedings were instituted and continued maliciously, resulting in injury.




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 149. The judicial proceedings were terminated in Mr. Liggins’s favor and in a

manner indicative of his innocence when he was acquitted in July 2019 following

a criminal trial.

 150. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally and in total disregard of the truth and Mr.

Liggins’s clear innocence.

 151. As a result of the Defendants’ misconduct described in this Count, Mr.

Liggins suffered mental anguish, humiliation, degradation, physical and

emotional pain and suffering, loss of liberty, and other grievous injuries and

damages as set forth above.

          Count 7 – Intentional Infliction of Emotional Distress
                              Illinois Law

 152. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 153. As described more fully above, the acts, omissions, and conduct of the

Defendants as set forth above were extreme and outrageous. These actions were

rooted in an abuse of power and authority and were undertaken with the intent

to cause, or were in reckless disregard of the probability that their conduct

would cause, severe emotional distress to Mr. Liggins.

 154. As a result of the Defendants’ misconduct described in this Count, Mr.

Liggins suffered mental anguish, humiliation, degradation, physical and




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emotional pain and suffering, loss of liberty, and other grievous injuries and

damages as set forth above.

                         Count 8 – Civil Conspiracy
                                Illinois Law

 155. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 156. As described more fully above, the Defendants, acting in concert with

other co-conspirators, known and unknown, reached an agreement among

themselves to frame Mr. Liggins for a crime he did not commit and conspired by

concerted action to accomplish an unlawful purpose through unlawful means.

The Defendants also reached an agreement among themselves to protect one

another from liability for depriving Mr. Liggins of his rights.

 157. In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

 158. The violations of Illinois law described in this complaint, including

Defendants’ malicious prosecution of Mr. Liggins and their intentional infliction

of emotional distressed, were accomplished by the Defendants’ conspiracy.

 159. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally and in total disregard of the truth and Mr.

Liggins’s clear innocence.

 160. As a result of the Defendants’ misconduct described in this Count, Mr.

Liggins suffered mental anguish, humiliation, degradation, physical and


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emotional pain and suffering, loss of liberty, and other grievous injuries and

damages as set forth above.

                      Count 9 – Respondeat Superior
                               Illinois Law

 161. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 162. While committing the misconduct alleged in the preceding paragraphs,

the Defendants were employees, officers, and agents of the City of Chicago,

acting at all relevant times within the scope of their employment.

 163. Defendant City of Chicago is liable as principal for all torts committed by

its agents.

                        Count 10 – Indemnification
                               Illinois Law

 164. Plaintiff incorporates each paragraph of this complaint as if fully restated

here.

 165. Illinois statute (745 ILCS 10/9-102) provides that public entities are

directed to pay any tort judgment for compensatory damages for which

employees are liable within the scope of their employment activities.

 166. The Defendants were employees, officers, and agents of the City of

Chicago, acting at all relevant times within the scope of their employment in

committing the misconduct described herein.




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 167. The City of Chicago is responsible for paying any judgment entered

against the Defendants. Plaintiff therefore demands judgment against

Defendant City of Chicago in the amounts awarded to Plaintiff against the

individual Defendants in the form of damages, attorneys’ fees, costs, and

interest.

                               Prayer for Relief

      WHEREFORE, Plaintiff Michael Liggins respectfully requests that this

Court enter judgment in his favor against Defendants, awarding compensatory

damages, punitive damages, attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988, and any other relief the Court deems just and appropriate.

                                 Jury Demand

      Plaintiff Michael Liggins demands a trial by jury pursuant to Federal

Rule of Civil Procedure 38(b) on all issues so triable.

July 10, 2020                            Respectfully submitted,

                                         /s/ John Hazinski
                                         Attorney for Plaintiff Michael Liggins

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